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CERTIFICATE OF SERVICE

I, Leigh-Anne M. Raport, hereby certify that on June 23, 2011, I caused one copy of the

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Email Address

Attorney

jconlan@sidley.com
bkrakauer@sidley.com
klantry@sidley.com
jbendernagel@sidley.com
jducayet@sidley.com
dmiles@sidley.com
pwackerly@sidley.com
jpeltz@sidley.com
ckenney@sidley.com
sbierman@sidley.com
dthomas@sidley.com
rflagg@sidley.com
ahart@sidley.com
mmelen@sidley.com

James F. Conlan
Bryan Krakauer
James Bendernagel
James W. Ducayet
Patrick J. Wackerly
Jen Peltz

Colleen M. Kenney
Dale E. Thomas
Sidley Austin LLP
One South Dearborn Street
Chicago, IL 60603

Kevin T. Lantry

Sidley Austin LLP

555 West Fifth Street
Los Angeles, CA 90013

David M. Miles

Ronald S. Flagg

Sidley Austin LLP
1501 K Street, N.W.
Washington, D.C. 20005

Steven M. Bierman

Andrew D. Hart

Sidley Austin LLP

787 Seventh Avenue

New York, New York 10019

msiegel@brownrudnick.com
kbromberg@brownrudnick.com
gnovod@ brownrudnick.com
jellias@brownrudnick.com
adash@brownrudnick.com

Martin S. Siegel
Katherine S. Bromberg
G. Novod

Jared A. Ellias
Andrew Dash

Brown Rudnick LLP
Seven Times Square
New York, NY 10036

hseife@chadbourne.com
dlemay(@chadbourne.com
mashley@chadbourne.com
tmecormack@chadbourne.com
anellos@chadbourne.com
ddeutsch@chadbourne.com
eprzybylko@chadbourne.com
rschwinger@chadbourne.com

Howard Seife

David M. LeMay

Marc D. Ashley
Thomas J. McCormack
Alexandra K. Nellos
Douglas E. Deutsch
Eric J. Przybylko
Robert A. Schwinger
Chadbourne & Parke LLP
30 Rockefeller Plaza
New York, NY 10112

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Email Address

Attorney

gbush@zuckerman.com
agoldfarb@zuckerman.com
jsottile@zuckerman.com
acaridas@zuckerman.com

Graeme Bush

Andrew N. Goldfarb

James Sottile

Zuckerman Spaeder LLP
1800 M Street, NW, Suite 1000
Washington, DC 20036-5807

hobartd@hbdlawyers.com
johnstonj@hbdlawyers.com
mesterj@hbdlawyers.com

Dana C. Hobart

James O. Johnston

Joshua M. Mester

Hennigan Bennett & Dorman

865 South Figueroa Street, Suite 2900
Los Angeles, CA 90017

donald.bernstein@davispolk.com
elliott. moskowitz@davispolk.com
michael.russano@davispolk.com
sasha.polonsky@davispolk.com
benjamin.kaminetzky@davispolk.com
damian.schaible@davispolk.com
dennis.glazer@davispolk.com
karen.luftglass@davis polk.com

Donald S. Bernstein
Elliott Moskowitz
Michael Russano

Sasha Polonsky
Benjamin S. Kaminetzky
Damian S. Schaible
Dennis E. Glazer

Karen Luftglass

Davis Polk & Wardwell LLP
450 Lexington Avenue
New York, NY 10017

skorpus@kasowitz.com
mstein@kasowitz.com
drosner@kasowitz.com
cmontenegro@kasowitz.com

David S. Rosner

Sheron Korpus

Matthew B. Stein
Christine A. Montenegro

Kasowitz, Benson, Torres & Friedman LLP

1633 Broadway
New York, NY 10019

dadler@mccarter.com
afaccone@mccarter.com
Jboccassini@mccarter.com
kmayer@mccarter.com

David Adler

McCarter & English LLP
245 Park Avenue, 27th Floor
New York, NY 10167

Alitia Faccone

Joseph T. Boccassini
McCarter & English LLP
Four Gateway Center

100 Mulberry Street
Newark, NJ 07102

Katherine L. Mayer
McCarter & English LLP
Renaissance Centre

405 N. King Street, 8" Floor
Wilmington, DE 19801

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Email Address Attorney
hkaplan@arkin-law.com Howard J. Kaplan
jyeh@arkinlaw.com Johnny Yeh

Arkin Kaplan Rice LLP

590 Madison Avenue
New York, NY 10022

Isilverstein@potteranderson.com Laurie Selber Silverstein
rmeneill@potteranderson.com R. Stephen McNeill

Potter Anderson & Carroon LLP
Hercules Plaza

1313 North Market St.
Wilmington, DE 19801

mprimoff@kayescholer.com Madlyn Gleich Primoff

jJagudelo@kayescholer.com Jonathan Agudelo

jparver@kayescholer.com Jane W. Parver

jdrayton@kayescholer.com Joseph M. Drayton
Kaye Scholer

425 Park Avenue
New York, NY 10022-3598

bbutwin@omm.com Bradley J. Butwin

dcantor@omm.com Daniel L. Cantor

dshamah@omm.com Daniel S. Shamah
O’Melveny & Myers LLP

Times Square Tower
7 Times Square
New York, NY 10036

schannej@pepperlaw.com John Henry Schanne
strattond@pepperlaw.com David B. Stratton
Pepper Hamilton LLP

Hercules Plaza, Suite 5100

1313 Market Street

P.O. Box 1709

Wilmington Delaware 19899-1709

dbrown@paulweiss.com David W. Brown

agordon@paulweiss.com Andrew G. Gordon

emcecolm@paulweiss.com Elizabeth McColm

alevy@paulweiss.com Paul, Weiss, Rifkind, Wharton & Garrison LLP

1285 Avenue of the Americas
New York, NY 10019-6064

Andrew J. Puglia Levy
Paul, Weiss, Rifkind, Wharton & Garrison LLP
2001 K Street, NW

Washington, DC 20006-1047

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Email Address Attorney
dgheiman@jonesday.com David G. Heiman
bberens@jonesday.com Brad Erens
dahall(@jonesday.com Jones Day
Imarvin@jonesday.com North Point

901 Lakeside Avenue
Cleveland, OH 44114-1190

Lynn DiPaola Marvin

Jones Day

222 East 41st Street

New York, New York 10017-6702

David A. Hall

Jones Day

77 West Wacker

Chicago, Illinois 60601-1692

andrew.goldman@wilmerhale.com
charles.platt@wilmerhale.com
dawn.wilson@wilmerhale.com

Andrew Goldman
Charles Platt

Dawn Wilson
WilmerHale

399 Park Avenue
New York, NY 10022

dgolden@akingump.com
dzensky@akingump.com
nchung@akingump.com
aqureshi@akingump.com
djnewman@akingump.com
jgoldsmith@akingump.com
bearney@akingump.com
cdoniak@akingump.com
mhurley@akingump.com
sgulati@akingump.com
dharrop@akingump.com

Daniel H. Golden, Esquire
Philip C. Dublin, Esquire
Jason Goldsmith

Brian Carney

Nancy Chung

Abid Qureshi

Mitchell P. Hurley
Deborah Newman

Sunny Gulati

Dawn Harrop

Akin Gump Strauss Hauer & Feld LLP
One Bryant Park

New York, NY 10036

avail(@jenner.com
dbradford@jenner.com
dsondgeroth@jenner.com

Andrew W. Vail

David J. Bradford
Douglas Sondgeroth
Jenner & Block LLP
353 N. Clark Street
Chicago, IL 60654-3456

msenter@lermansenter.com
rneumann@lermansenter.com

Merideth S. Senter, Jr.
Rebecca L. Neumann
Lerman Senter PLLC
2000 K Street, N.W.
Suite 600

Washington, D.C. 20006

{00469456:v1}

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Email Address

Attorney

charles.jackson@morganlewis.com
ddavidson@morganlewis.com
tbecker@morganlewis.com
jbayles@morganlewis.com
gabrams@morganlewis.com
marussell@morganlewis.com
mzelmanovitz@morganlewis.com
rmauceri@morganlewis.com

Charles C. Jackson

Deborah S. Davidson

Theodore M. Becker

James E. Bayles

Gregory P. Abrams

Matthew A. Russell

Morgan, Lewis & Bockius LLP
77 West Wacker Dr.

Chicago, IL 60601-5094

Menachem O. Zelmanovitz
Morgan, Lewis & Bockius LLP
101 Park Avenue

New York, NY 10178-0060

Rachel Jaffe Mauceri

Morgan, Lewis & Bockius LLP
1701 Market St.

Philadelphia, PA 19103-2921

evan.flaschen@bgllp.com

Evan Flaschen
Bracewell & Giuliani
225 Asylum Street

Suite 2600

Hartford, CT 06103-1516

gerson.leonard@dol.gov
goldberg.elizabeth@dol.gov
heri.christine@dol.gov
schloss.michael@dol.gov

Leonard Gerson

Elizabeth Goldberg

Christine Heri

Michael Schloss

United States Department of Labor

dhille@whitecase.com
ahammond@whitecase.com
bfritz@whitecase.com

David G. Hille

Andrew W. Hammond

Brian E. Fritz

White & Case

1155 Avenue of the Americas
New York, NY 10036-2787

kstickles@coleschotz.com

J. Kate Stickles

Cole, Schotz, Meisel, Forman & Leonard, P.A.
$00 Delaware Avenue

Suite 1410

Wilmington, DE 19801

bbennett@dl.com
jmester@dl.com
jjohnston@dl.com

Bruce Bennett

Joshua M. Mester

James O. Johnston

Dewey & LeBoeuf

333 South Grand Avenue, Suite 2600
Los Angeles, CA 90071-1530

100469456.v1}

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msolis@grippoelden.com

Maile H Solis-Szukala
Grippo & Elden LLC
111 S. Wacker Drive
Chicago, IL 60606

